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                                                                           ,    F'LED
  RTP:NR/HDM                                                          U.S. DISTR^TcoupS e^d.N.Y.
  F.#2020R00338                                                       ^ JUL 0 2 2020 ★
  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                                                 ISLAND OFFICE
                                         X


  UNITED STATES OF AMERICA                              INDICTMENT                                  ^
        - against -                                     Cr. No.   p R 20 2
                                                                         — 42..
                                                        (T. 18, U.S.C., §§ 981(a)(1)(C), 1343,
  DONALD ALLEN,                                          1349,2 and 3551 et seg.; T.21, U.S.C.,
                                                         § 853(p); T.28, U.S.C.,§ 2461(c))
                          Defendant.
                                                                  MAUSKOPF, CH. J.
                                         X


  THE GRAND JURY CHARGES:                                                SCANLON, M.J#
                                          COUNT ONE
                              (Conspiracy to Commit Wire Fraud)

                1.     In or about and between March 2020 and April 2020, both dates being

  approximate and inclusive, within the Eastern District ofNew York and elsewhere, the
  defendant DONALD ALLEN,together with others, did knowingly and intentionally conspire

  to devise a scheme and artifice to defraud one or more investors and buyers and potential

  investors and buyers of personal protective equipment, including KN95 Filtering Facepiece
  Respirators and 3-Ply surgical masks, and to obtain money and property from them by means
  of one or more materially false and fraudulent pretenses, representations and promises, and
  for the purpose of executing such scheme and artifice, to transmit and cause to be transniitted
  by means of wire communication in interstate commerce, one or more writings, signs,
  signals, pictures and sounds, contrary to Title 18, United States Code, Section 1343.
                (Title 18, United States Code, Sections 1349 and 3551
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                             COUNTS TWO THROUGH THREE
                                         (Wire Fraud)

                2.     In or about and between March 2020 and April 2020, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant DONALD ALLEN,together with others, did knowingly and intentionally devise a

  scheme and artifice to defraud one or more investors and buyers and potential investors and

  buyers of personal protective equipment, including KN95 Filtering Facepiece Respirators

  and 3-Ply surgical masks, and to obtain money and property from them by means of one or

  more materially false and fraudulent pretenses, representations and promises.

                3.     On or about the dates set forth below, for the purpose of executing such

  scheme and artifice, within the Eastern District of New York and elsewhere, the defendant

  DONALD ALLEN,together with others, did transmit and cause to be transmitted, by means

  of wire communication in interstate commerce, one or more writings, signs, signals, pictures

  and sounds, as set forth below:
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  Count            ADDroximate        DescriDtion of Wire Communication
                   Date

  TWO              April 14, 2020     Email sent by ALLEN, who was located in California, to a
                                      potential investor, whose email server was located in the
                                      Eastern District ofNew York, with the subject line:"3
                                      Invoices," in which ALLEN stated, among other things,
                                      "Gentlemen, Please find the attached 3 invoices for
                                      tomorrow morning's transaction. I will confirm
                                      transportation requirements shortly."

   THREE           April 15, 2020     Email sent by ALLEN,who was located in California, to a
                                      potential investor, whose email server was located in the
                                      Eastern District of New York, with the subject line:"KN95
                                      Invoice," in which ALLEN stated, among other things,
                                      "Gentlemen, Here is the KN95 Invoice[.]"


                (Title 18, United States Code, Sections 1343,2 and 3551 M

   CRIMINAL FORFEITURE ALLEGATION AS TO COUNTS ONE THROUGH THREE

                4.      The United States hereby gives notice to the defendant that, upon his

  conviction of any ofthe offenses charged herein, the government will seek forfeiture in
  accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

  States Code, Section 2461(c), which require any person convicted ofsuch offenses to forfeit
  any property, real or personal, constituting, or derived from, proceeds obtained directly or
  indirectly as a result of such offenses.

                 5.       If any ofthe above-described forfeitable property, as a result ofany act
  or omission ofthe defendant:

                        (a)      cannot be located upon the exercise of due diligence;
                        (b)      has been transferred or sold to, or deposited with, a third party;
                        (c)      has been placed beyond the jurisdiction ofthe court;
                        (d)      has been substantially diminished in value; or
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                        (e)     has been commingled with other property which cannot be

  divided without difficulty;

  it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

 to seek forfeiture of any other property of the defendant up to the value of the forfeitable

  property described in this forfeiture allegation.

                (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States

  Code, Section 853(p); Title 28, United States Code, Section 2461(c))



                                                                   A TRUE BILL




                                                                  FOREPERSON




  RICHARD P. DONOGHUE
  UNITED STATES ATTORNEY
  EASTERN DISTRICT OF NEW YORK




   ACTING UNITED SWES ATTORREY
   PURSUANT TO 28 C.F.R.0.136
           Case 1:20-cr-00242-PKC-VMS Document 21 Filed 07/02/20 Page 5 of 5 PageID #: 197


FJ:2020R00338
FORM DBD-34          No.
JUN. 85
                                     UNITED STATES DISTRICT COURT


                                          EASTERN District o/NEW YORK

                                              CRIMINAL DIVISION


                                      THE UNITED STATES OF AMERICA


                                                        vs.



                                                 DONALD ALLEN.

                                                                                    Defendant.


                                                  INDICTMENT


                     ((T. 18, U.S.C., §§ 981(a)(1)(C), 1343, 1349,2 and 3551 ^s^.; T.21,U.S.C.,
                                             § 853(p); T. 28, U.S.C.,§ 2461(c))


                           A true bill.




                                                                                  Foreperson


                      Filed in open court this                               day,

                      of                          A.D. 20
